        Case 1:18-cv-05391-SCJ Document 210 Filed 01/31/20 Page 1 of 3



                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


 FAIR FIGHT ACTION, INC, et al.,
        Plaintiffs,
        v.                                                Civ. Act. No. 18-cv-5391 (SCJ)
 BRAD RAFFENSPERGER, et al.,
    Defendants.


           [PROPOSED] SECOND AMENDED SCHEDULING ORDER

       The Court’s July 11, 2019 scheduling order (Doc. No. [79]) is amended as

follows:

       Upon consideration of the arguments presented at the January 30, 2020,

discovery hearing, the Court ORDERS that the time limits for adding parties,

amending the pleadings, filing motions, completing discovery, and discussing

settlement are as set out in the Federal Rules of Civil Procedure and the Local

Rules of this Court, except as herein modified.

       Discovery begins on July 15, 2019. The parties are assigned to a four-month

fact discovery track, which shall be followed by a 30-day expert discovery track. 1

The following schedule governs discovery:



1 Counsel shall abide by the Instructions for Cases Assigned to the Honorable Judge Jones (Doc.
No. 34) regarding the procedures set forth therein for discovery disputes.


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         Case 1:18-cv-05391-SCJ Document 210 Filed 01/31/20 Page 2 of 3



       Submission of the parties’ joint proposed protective order: July 15, 2019.

       Close of fact discovery: November 15, 2019.

       Expert discovery begins: November 15, 2019.

       Outstanding reports from Plaintiffs’ expert witnesses for which reports

       all data and documents have been produced: February 17, 2020.

       Depositions of Plaintiffs’ expert witnesses whose reports are produced

       February 17, 2020: Week of February 24, 2020.

       Outstanding expert reports from Plaintiffs’ expert witnesses for which

       reports Plaintiffs are still waiting on additional document productions

       from Defendants: 10 days after Defendant informs the Court that the

       relevant materials have been produced.2

       Defendants’ expert reports: March 16, 2020.

       Plaintiffs’ disclosure of rebuttal experts: two days after the last deposition

       of Defendants’ experts, Plaintiffs shall notify the Court whether they intend

       to identify rebuttal experts.

       Expert discovery ends: March 30, 2020.

       Dispositive motions: April 15, 2020.

       Responses to dispositive motions: May 6, 2020.



2      If Plaintiffs disagree that the relevant materials have been produced, they shall inform the
Court of that disagreement within two days of Defendants’ communication to the Court


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         Case 1:18-cv-05391-SCJ Document 210 Filed 01/31/20 Page 3 of 3



       Replies in support of dispositive motions: May 20, 2020.

       Proposed pretrial orders: June 4, 2020.

       Daubert motions: 3 June 4, 2020.

       Tentative/anticipated pretrial conference date: June 8, 2020.

       Responses to Daubert motions:4 June 15, 2020.

       Tentative/anticipated trial date: June 15, 2020.

       A strong presumption shall exist against further extensions of deadlines set

out in this discovery order.

                                               _______________________________
                                               HONORABLE STEVE C. JONES
                                               UNITED STATES DISTRICT JUDGE




3       Because this is a bench trial and in the interest of avoiding further delay, the parties shall
object to evidence at trial in lieu of Motions in Limine.
4       Daubert motions will be ruled on orally when the witness is presented at trial. No reply
briefs are permitted.


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